      Case 4:16-cr-00224-WTM-CLR Document 192 Filed 02/08/17 Page 1 of 1



                                                                           \ I
                IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION




UNITED STATES OF AMERICA


vs.                                            Case No. CR416-224-08


FELISHA BYRD




                                 ORDER


       Before the Court is Defendant Felisha Byrd's Motion to Release

Funds. (Document 171).       After careful consideration. Defendant's

motion is GRANTED.


       IT IS HEREBY ORDERED that the Clerk of the United States

District Court for the Southern District of Georgia shall cancel

the appearance bond on behalf of Defendant and exonerate the
obligor thereon.

       The Clerk is hereby DIRECTED to return the $2,000.00, with any

accrued interest to: Janice Dixon, P.O. Box 411, Ellabell, Georgia

31308


       so ORDERED, this               day of February 2017




                                    WILLIAM T. MOORE, JR.,♦'JUDGE
                                    UNITED STATES DISTRICT COXJRT
                                    SOUTHERN DISTRICT OF GEORGIA
